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                                                                                FILED
                     IN THE UNITED STATES DISTRICT COURT                               JAN 2 9 2015
                   FOR THE WESTERN DISTRICT OF OKLAHOMA
                                                                               CARMEUT/\ EEED[f: S~fNN, CLERK

(1) UNITED STATES ex reI SOUTHWIND                )      FILED UNDER       U:_D~_S~_.C_~~UR.;.~~:
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CONSTRUCTION SERVICES, LLC,                       )

                     P lainti fflRe lator,        ~CIV-15-0102
                                                  )      Case No.
v.                                                )
                                                  )
(2) THE ROSS GROUP CONSTRUCTION                   )
CORPORATION,                                      )
(3) THE ROSS GROUP, LLC                           )
(4) RED CEDAR ENTERPRISES, INC.,                  )      JURY TRIAL DEMANDED
(5) PENTACON, LLC,                                )
(6) C3, LLC, and                                  )
(7) JOHN DOES 1-5                                 )
                                                  )
                     Defendants.                  )

            COMPLAINT FOR VIOLATIONS OF FALSE CLAIMS ACT,
             RICO. AND OTHER STATE-BASED CAUSES OF ACTION

       The United States of America ("Government"), by and through qui tam

plaintiff/relator, Southwind Construction Services, LLC ("Southwind"), for its action against

defendants, The Ross Group Construction Corporation and The Ross Group, LLC (referred

to collectively as "TRG"), Red Cedar Enterprises, Inc. ("Red Cedar"), PentaCon, LLC

("PentaCon"), and C3, LLC ("C3") and John Does 1-5 (all of whom will be referred to

collectively as "Defendants"), pursuant to 31 U.S.C. §§ 3729-3732, the False Claims Act

("Act"), and other federal and state-based causes of action, alleges and states as follows:

                                             PARTIES

       1.     Southwind is an Oklahoma limited liability company authorized to and

transacting business in the State of Oklahoma.
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       2.      TRGCC is an Oklahoma corporation transacting business throughout the

United States, including within this judicial district, that can be served with process via its

registered agent, John E. Harper, 124 East 4th Street, Suite 400, Tulsa, Oklahoma 74103.

       3.      TRG is an Oklahoma limited liability company transacting business throughout

the United States, including within this judicial district, that can be served with process at its

Oklahoma City, Oklahoma, office, 620 West California Avenue, Oklahoma City, Oklahoma

73102-2418.

       4.      Red Cedar is a foreign corporation transacting business throughout the United

States, including within this judicial district, that can be served with process via its registered

agent, Troy Lee LittIeaxe, 418 G Street South East, Miami, Oklahoma 74354.

       5.      PentaCon is an Oklahoma limited liability company transacting business

throughout the United States, including within this judicial district, that can be served with

process via its registered agent, John E. Harper, 124 East 4th Street, Suite 400, Tulsa,

Oklahoma 74103.

       6.      C3 is an Oklahoma limited liability company transacting business throughout

the United States, including within this judicial district, that can be served with process via

its registered agent, John E. Harper, 124 East 4th Street, Suite 400, Tulsa, Oklahoma 74103.

       7.      John Does 1-5 are other individuals, businesses and/or enterprises established

by and/or conspiring with one or more of the Defendants: a) to bid on and obtain contracts

TRG is otherwise ineligible to receive from the Government; b) that have knowingly


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submitted false and/or fraudulent certifications, representations, records, statements and/or

claims to the Government, thereby violating the Act; and, who operate, manage and

participate in the conduct and affairs of a common enterprise engaged in a pattern of

racketeering activities.

                              JURISDICTION AND VENUE

       8.      Venue and jurisdiction are proper in this Court pursuant to 31 U.S.C. §

3732(a), and 28 U.S.C. § l331. This Court also possesses supplemental jurisdiction under

28 U.S.C. § l367(a).

       9.      In order to receive contracts from the Government, Red Cedar has expressly

and/or impliedly waived any sovereign immunity protection that might otherwise apply.

Moreover, the Act is a statute ofgeneral applicability that applies to Indian tribes and tribal­

owned entities, granting the Government authority to regulate Red Cedar's conduct.

       10.     Southwind is the original source of any publicly disclosed information upon

which the allegations and claims herein are based. Prior to any public disclosure, Southwind

voluntarily disclosed to the Government the information upon which the allegations and

claims herein are based, and Southwind has knowledge independent ofand materially adding

to any publicly disclosed information.         Southwind has personally gathered all the

documentation substantiating the allegations herein, and has voluntarily provided all such

information to the Government prior to the filing of this action.




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                       FACTS GIVING RISE TO THIS ACTION

       11.     Southwind is a local construction company that is qualified to bid on and

receive contracts from the Government set aside for legitimate small businesses under the

Small Business Act, 15 U.S.C. § 14(a), et seq.

       12.     On June 26,2012, Southwind filed a size protest with the Government and the

Small Business Administration ("SBA") concerning the intended award to PentaCon of a

contract for general construction services that had been set aside for small businesses,

Solicitation No. W912BV-12-R-0012, and which was governed by the size standard for

general construction services, set forth in the North American Industry Classification System

("NAICS"), NAICS Code 236220. Southwind presented to the SBA documented evidence

that PentaCon was directly controlled by and affiliated with TRG and/or TRGCC (hereafter

referred to collectively as "TRG"), and that PentaCon was being used by TRG to bid on and

obtain contracts it was ineligible to receive from the Government. The combined average

annual receipts of TRG and PentaCon (as well as the other companies controlled by TRG)

greatly exceeded the size limitation in NAICS Code 236220, thereby rendering PentaCon

ineligible for award. Southwind also discovered, and reported to the SBA, that C3 was/is

being controlled and operated by TRG in the same manner that it was/is using PentaCon -­

as a front to bid on and obtain contracts TRG is not eligible to receive from the Government.

       13.     After filing its protest, PentaCon withdrew its offer on Solicitation No.

W912BV -12-R-00 12, and advised the SBA that it would no longer represent itself as "small"


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for the purposes of obtaining contracts set aside for legitimate, small and disadvantaged

business concerns. Consequently, the SBA declared Southwind's protest moot.

       14.     On August 27,2014, Southwind filed another size protest with the Government

and the SBA challenging the intended award of a Government contract to Red Cedar,

Solicitation No. W912BV -14-R-0064. As with PentaCon and C3, Red Cedar was/is directly

controlled by and affiliated with TRG, and was/is being used by TRG to bid on and obtain

contracts set aside for legitimate, small and disadvantaged business concerns. To avoid an

adverse size determination, Red Cedar withdrew its offer on Solicitation No. W912BV-14-R­

0064 (following the same pattern and practice as PentaCon in 2012), and instructed the SBA

to dismiss Southwind's protest as moot. During the course of its investigation into the

intended award to Red Cedar, Southwind learned that PentaCon was (and is) still obtaining

contracts set aside for small businesses, contrary to its earlier promise to the SBA to no

longer hold itself out as a small business concern.

       15.     Southwind discovered, and reported to the SBA, that TRG employees were

frequently communicating in writing to Government officials and third parties on behalf of

PentaCon, Red Cedar and C3 using the following e-mail addresses:

               Persons:            Associated E-Mail Addresses:

               Nate Ahlberg        nate.ahlberg@trgcc.com

               Brian Beck          proposal@redcedarconst.com, brian.beck@trgcc.com

               Thorn Cole          thom.cole@pentacon-llc.com


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               Michael Cheney      m i c h a e I . c hen e y @ red c e dar con st. com,
                                   michael.cheney@trgcc.com

               Jonathan Drum       jon.drum@redcedarconst.com, jon.drum@trgcc.com

               Eli Haskett         proposal@redcedarconst.com, proposal@pentacon-llc.com,
                                   eILhaskett@trgcc.com, proposal@c3-llc.com

               Tracey Hembree      proposal@pentacon-llc.com

               John Hoggatt        proposal@redcedarconst.com, john.hoggatt@trgcc.com;
                                   john.hoggatt@redcedarconst.com

               Travis Magers       travis.magers@trgcc.com

               Doug Myers          doug.myers@trgcc.com

               Issac O'Hare        proposal@redcedar.com, isaac.ohare@pentacon-llc.com,
                                   isaac.ohare@c3-llc.com, proposal@c3-llc.com,
                                   isaac.ohare@trgcc.com

               Shane Packard       proposal@c3-11c.com

               Tony Yanda          tony.yanda@redcedarconst.com, tony.yanda@c3-11c.com

               Jay Warren          jay.warren@trgcc.com

       16.     In its August 27,2014, protest, Southwind also demonstrated that many ofthe

TRG employees noted above appeared on behalf of PentaCon, Red Cedar and C3 at pre-bid

and other job-site meetings on numerous solicitations. A few examples are noted below in

paragraphs 17 - 35. There are undoubtedly more instances of TRG employees acting on

behalf of Defendants, about which Southwind is presently unaware. Whether or not a

contract or task order was actually awarded by the Government, Red Cedar, PentaCon, and

C3 falsely certified to the Government that they were legitimate small business concerns,

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eligible to receive the contracts and task orders on which they had submitted bids and/or

proposals. Such certifications were made under the direct influence and direction of TRG

and/or one or more of John Does 1-5 .

                 CONTRACTS, TASK ORDERS & SOLICITATIONS
                      INVOLVINGPENTACON ANDTRG:

       17.     W9126G-14-R-0064, VOLAR Barraks Renovation, Fort Polk, LA: This

design-build solicitation was designated in June, 2014, as a 100% small business set aside,

utilizing a two phase bidding process. On or about August 12, 2014, PentaCon was selected

as one of the contractors to bid on phase two. PentaCon did not send an employee to the pre-

bid conference scheduled for August 14, 2014. Instead, Jay Warren, a TRG employee

appeared on behalf of PentaCon.

       18.     W912DQ-14-R-4010-0001, Building 500 Renovations, Ft. Riley, KS: A

solicitation for this HUBZone contract was issued by the Government in or about April,

2014. The seed task order was issued in July, 2014, with proposals due in August, 2014,

from bidders selected for phase two. On August 12,2014, Jacob Bixby an employee of TRG

signed in at a pre-proposal site visit. Apparently, nobody from PentaCon attended the site

visit. Thereafter, Isaac O'Hare posted the task order on "smartbid," identifYing himself as

the project manager with the e-mail address ...isaac.ohare@pentacon-llc.com ... However,

Mr. O'Hare actually works for TRG with the e-mail address ...isaac.ohare@trgcc.com ...

       19.     W9127S-14-R-6019, C-130J Flight Simulator Addition, Little Rock AFB,

AR: This solicitation was designated in July, 2014, as a small business set aside, with a site

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visit for prospective bidders scheduled on July 17,2014. Signing in on behalf of PentaCon

was a person named Thorn Cole, with an e-mail address ...thom.cole@pentacon-Ilc.com...

In reality, Mr. Cole is an assistant project manager for TRG. Mr. Cole listed this project on

his Linkedin page as belonging to TRG.

       20.     KC46A Flight Simulator Buildings, McConnell AFB, KS: TRG employee

Eli Haskett used TRG's "smartbid" program to send electronic solicitations to prospective

subcontractors. Mr. Haskett and Tracey Hembree are identified as POCs (points of contact)

for the task order, using the following e-mail addresses: ..proposal@pentacon-llc.com.. and

"eILhaskett@trgcc.com," respectively.

       21.     KC46A Pipeline Student Dorm, McConnell AFB, KS: As with the other

KC46 McConnell AFB task order, above, Eli Haskett used TRG's "smartbid" program to

send electronic solicitations to prospective subcontractors. However, this time, Mr. Haskett

used both the PentaCon e-mail address associated with Ms. Hembree, "proposal@pentacon­

lIc.com," as well as his own personalized address with TRG, "eli.haskett@trgcc.com."

       22.     Solicitation No. W912DQ-14-R-4034: This was a total small business set-

aside contract for construction services by the U.S. Army Corps of Engineers, Kansas City

District in which PentaCon utilized TRG employees and resources for bidding purposes.

       23.     Solicitation No. W9126G-13-R-0089: This was an IDIQ MATOC for

construction services set aside for qualified HUBZone small businesses by the U.S. Army




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Corps ofEngineers, Ft. Worth District, in which PentaCon utilized TRG employees and other

resources.

                   CONTRACTS, TASK ORDERS & SOLICITATIONS
                           INVOL VING C3 AND TRG:

         24.     W912BV-14-R-0067, Bldg. 5030 Repairs and Renovation, Ft. Sill,

Oklahoma: This design-build, MATOC IDIQ was set aside for small businesses, utilizing

a two step bidding process. As with Red Cedar and PentaCon, TRG' s "smartbid" program

is being used to obtain subcontractor pricing for the seed project.       Once again, TRG

employee Eli Haskett is soliciting bids from prospective subcontractors. He is also designated

as the POC with the e-mail address ...proposal@c3-11c.com ... Mr. Haskett is also using his

personalized e-mail addresswithTRG...eli.haskett@trgcc.com... when soliciting

subcontractor bids for this MATOC contract.

         25.     Replace Cooling Systems, Bldg. 156, Altus AFB, Oklahoma: C3 used

TRG's "smartbid" program to solicit subcontractor quotes for this task order. The person

soliciting bids, Issac O'Hare, was designated as the POC with the e-mail address,

"proposal@c3-11c.com." Mr. O'Hare is an employee of TRG. Mr. O'Hare has done the

same thing several times on behalf of Red Cedar and PentaCon.

         26.     Hangar 435 Fire Alarm Repair, Altus AFB, Oklahoma: Mr. O'Hare used

both an e-mail address for C3, "proposal@c3-11c.com," as well as his personalized e-mail

address with TRG, "isaac.ohare@trgcc.com,"when soliciting subcontractor bids for this task

order.

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       27.      Replace Base Water Main, Phase 3, Altus AFB, Oklahoma: Mr. O'Hare

was designated as project manager for this C3 task order, and used the "smartbid" system and

his personalized TRG e-mail address...isaac.ohare@trgcc.com... when soliciting

subcontractor bids.

       28.      Replace AlC Units, B/1712, Altus AFB, Oklahoma (MACC): Mr. O'Hare

was designated as project manager for this C3 task order, and used TRG' s "smartbid" system

when soliciting subcontractor bids. This time, however, he used a personalized e-mail

address with C3, "isaac.ohare@c3-11c.com." Of note, Mr. O'Hare's phone number remains

the same whether he uses e-mail addresses for C3, PentaCon, TRG, or Red Cedar.

                 CONTRACTS, TASK ORDERS & SOLICITATIONS
                     INVOLVING RED CEDAR AND TRG:

       29.      W912BV-13-D-00ll, AFR BI030 Repair Maintenance Tinker AFB: This

8(a) contract was awarded to Red Cedar in 2013, and it received several delivery orders that

year and in 2014. TRG employee, John Hoggatt, utilized TRG's "smartbid" system to solicit

subcontractor bids for Red Cedar, even though Troy Littleaxe was actually identified as an

additional POCo Mr. Littleaxe's email addresswaslistedas...proposal@redcedarconst.com ...

Despite      being    a   TRG   employee    with    the   personalized    e-mail   address,

"john.hoggatt@trgcc.com,"       Mr.    Hoggatt     used   a   different   e-mail   address,

'John.hoggatt@redcedarconst.com," when handling Red Cedar's business.

       30.      W912BV-13-D-00ll-0003, MCAAP Phase II Cutting Booths: This 8(a)

contract was awarded to Red Cedar in 2013, and it received several delivery orders that year

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and in 2014. Eli Haskett, an estimator employed by TRG, utilized TRG's "smartbid" system

to solicit subcontractor pricing for Red Cedar. Moreover, TRG employees, Michael Cheney

and Jonathan Drum, directly corresponded with prospective subcontractors representing that

they work for Red Cedar when, in fact, they are employees of TRG.

       31.      HDTRA-2-14-R-OOOl, R&D Test Article Construction Services: A

solicitation was issued on this 8(a) set aside contract in or about December, 2013. Mr.

Haskett signed in at the pre-proposal conference, identifYing himself as a Red Cedar

employee, and using the e-mail address ...proposal@redcedarconst.com. "but a phone number

registered to TRG, (918) 660-4636. Mr. Haskett is a TRG employee.

       32.      W912BV-14-R-0005, SATOC 8(a) TAFB BCE B9201 Roof Repair: Red

Cedar was one of the prospective bidders for this 8(a) set aside contract. Instead of sending

a Red Cedar employee to attend the pre-bid conference, Tommy Shara, a project manager

employed by TRG, signed in on behalf of Red Cedar. TRG actively solicited bids from

prospective subcontractors by posting information and identifYing TRG employee Eli Haskett

as the POCo

       33.     N40083-13-R-0004, P-136 TACAMO E6-B Hangar at TINKER AFB: A

solicitation was issued on this small business set aside contract in October, 2013. TRG had

several employees attend the pre-proposal conference, including Eli Haskett, Michael

Cheney, Travis Magers and Jon Drum.          Red Cedar did not attend the conference.

Subsequently, Mr. Haskett, ostensibly acting on behalf of Red Cedar, actively solicited


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subcontractor bids using TRG's "smart bid" program. Moreover, Mr. Cheney and Mr. Drum

have actively solicited subcontractors on other solicitations, holding themselves out as

employees of Red Cedar, and using Red Cedar's e-mail addresses when, in fact, they are

actually employed by TRG.

       34.      W912BV-ll-D-0020, B3904 NAF CDC Upgrade: This 8(a) contract was

awarded to Red Cedar in or about April, 2014, with an estimated completion date in 2015. The

work is being perfonned at Tinker AFB, Oklahoma. Because Southwind also perfonns work

at Tinker AFB, Southwind employees have occasion to communicate and correspond directly

with Red Cedar in an effort to avoid potential conflicts. Doug Myers holds himself out as Red

Cedar's quality control manager and superintendent; John Hoggatt claims to be Red Cedar's

project manager. Mr. Myers and Mr. Hoggatt are TRG employees. Moreover, Mr. Hoggatt

uses both TRG and Red Cedar e-mail addresses.            Likewise, in a past perfonnance

questionnaire submitted to Southwind by one of its subcontractors, Tony Yanda and Nate

Ahlberg were identified as Red Cedar's POCs. Mr. Yanda and Mr. Ahlberg are actually

employed by TRG, and have even held themselves out as representing C3.

       35.      W9126G-14-U-1513, AASF Major Maintenance, Grand Prairie, Texas:

Like the other contracts/task orders identified above, Red Cedar is completely dependent

upon TRG to perfonn this 8(a) MATOC contract. On August 7,2014, Jay Warren signed

in at a site visit conference as a representative of TRG. Red Cedar did not attend the

conference. Afterward, on August 14, 2014, solicitations to potential subcontractors were


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sent via TRG's "smartbid" program by Brian Beck, who is listed as project manager with the

e-mail address ...proposal@redcedarconst.com.. -- the same address utilized by Eli Haskett,

Troy Littleaxe and John Hoggatt. In the same solicitation, Mr. Beck identifies himself as a

TRG employee, using his personalized TRG email address ...brian.beck@trgcc.com ... Mr.

Beck describes himself on his Linkedin page as a TRG project manager, "experienced with

small business proposals for the Small Business Administration 8(a) programs."

                         GENERAL ALLEGATIONS AGAINST
                        RED CEDAR, PENTACON. C3 AND TRG

       36.      In order to obtain contracts set aside for legitimate, small and disadvantaged

businesses, concerns are required to "self-certifY" with the Government in a system now

known as the "System for Award Management" ("SAM").! At the direction ofTRG and one

or more of John Does 1-5, PentaCon, Red Cedar and C3 have all self-certified as small

business concerns, eligible to receive contracts set aside for legitimate, small and

disadvantaged businesses.       Because of the affiliation between the Defendants, the

certifications, representations, records, and statements made by PentaCon, Red Cedar and C3

in order to receive contracts and payments from the Government are false and fraudulent, and

were made with the knowledge oftheir falsity; in deliberate ignorance oftheir falsity; and/or

in reckless disregard oftheir falsity. Moreover, for each specific solicitation, including those

for task orders issued under multiple award contracts, Defendants, under the direct control



       I In years past, the Government utilized a system known as "Online Representations and
Certifications Application" ("ORCA").

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and supervision ofTRG and one or more of John Does 1-5, have provided the same false

certifications, representations, records, and statements to the Government, to the effect they

were eligible to receive said contracts and task orders and payments thereunder, representing

themselves as legitimate, small and disadvantaged businesses, when in fact, they were not

in light of their affiliation with TRG.

       37.      Defendants are completely dependent upon TRG for bidding, prosecuting and

managing work, oftentimes using the same employees for the same tasks, on numerous

solicitations, and have done so for many years. Defendants are nothing more than front

companies utilized by TRG to obtain contracts set aside for legitimate small and other

disadvantaged concerns and to illegally obtain payments from the Government.

       38.      Defendants are participating in a scheme to defraud the Government and U.S.

Taxpayers by virtue of the fact that they are being used by TRG to bid on and obtain

contracts set aside for legitimate, small and disadvantaged business concerns.

       39.      TRG is the one that actually prepares the bids and/or proposals of Defendants,

and performs the work, if awarded, for those companies.

       40.      Defendants do not possess the financial resources, or sufficient management,

laborers, equipment, or other resources, to perform construction work as a general contractor

on any of the contracts they have bid on and/or received from the Government. Instead, all

of the bidding and performance of any work awarded is handled by TRG, utilizing TRG

manpower, management, equipment, bonding, and financial resources.


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       41.      In addition to falsely certifYing themselves as small, either in the SAM or

ORCA databases, or with regard to the specific solicitations for contracts or task orders under

multiple award contracts, PentaCon falsely represented to the SBA that it would no longer

hold itself out as small, when in fact, it has and continues to obtain contracts by falsely

certifYing itself as a small business concern. Likewise, although Red Cedar has represented

to the SBA that it is no longer affiliated with TRG, it in fact continues to receive and perform

work under the direct control and supervision ofTRG and one or more of John Does 1-5.

Moreover, Southwind states, upon information and belief, that TRG and/or John Does 1-5,

in addition to being active participants and co-conspirators in violating the Act, also receive

the benefits of the contracts and task orders illegally obtained by Defendants by acting and

receiving payment as a subcontractor to and/or joint venturer with the Defendants.

       42.     Southwind further states, upon information and belief, that the SBA has

recently determined that TRG and PentaCon are, in fact, generally affiliated with each other,

based on the control and other factors described herein. The SBA's decision in that regard

has become final and conclusive, and is binding upon TRG, PentaCon and those in privity

with TRG or PentaCon.

                            COUNT I - FALSE CLAIMS ACT

       43.     Southwind incorporates and re-alleges all of the foregoing, numbered

paragraphs.




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       44.     Based on the conduct described herein, Defendants have knowingly presented,

or caused to be presented, false or fraudulent claims for payment to or approval by the

Government; and, they have knowingly made, used, or caused to be made or used, false

certifications, representations, records or statements in order to submit false or fraudulent

claims for payment to the Government. The Defendants have also conspired with each other

(and others) to perpetrate the wrongdoing prohibited by the Act.

       45.     The Government, unaware ofthe falsity of the certifications, representations,

records or statements made and/or provided by Defendants, has paid in excess of $200

million to Defendants based upon their false or fraudulent claims for payment. A non­

exhaustive list ofthe contracts improperly and unlawfully obtained from the Government by

TRG, PentaCon, C3 and Red Cedar are attached hereto as Exhibit 1.

       46.     The Government, Southwind, U.S. Taxpayers and the general public have been

damaged in an amount in excess of$200 million as a result of Defendants' violations of the

Act. Moreover, since none ofthe mitigating factors found in 31 U.S.C.A. § 3729(a)(2) exist

in this case, Defendants are liable for three times the amount of damages sustained by the

Government, a civil penalty, and the costs of this action as provided in the Act.

                    COUNT II - RICO 18 U.S.C. §§ 1962(c). 1964(c)

       47.     Southwind incorporates and re-alleges all of the foregoing, numbered

paragraphs.




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       48.      Defendants, through their joint efforts, formed an enterprise. They were

associated with, operated, managed, and participated in the conduct and affairs of the

enterprise. The purpose of Defendants' enterprise was to utilize companies to bid on and

obtain contracts set aside for legitimate, small and disadvantaged businesses under the Small

Business Act and regulations promulgated by the SBA. In reality, TRG was the entity that

put together the bids and/or proposals and actually performed the work, when awarded, under

contracts issued to Defendants. TRG is not eligible to bid on or receive any of the contracts

that were awarded to PentaCon, C3, Red Cedar and John Does 1-5 .

       49.     Defendants used their enterprise to engage in a pattern of racketeering

activities. The enterprise created by Defendants was nothing more than a scheme or artifice

to defraud the Government, which they accomplished by use ofthemail and wires (internet),

as defined by 18 U.S.c. §§ 1341 and 1343.

       50.     Defendants' actions and conduct affect interstate commerce.

       51.     As a direct and proximate result of Defendants' violation of 18 U.S.C. §§

1962(c) and 1964( c), the Government and Southwind have been harmed; Southwind by

virtue of the fact that it expended thousands of dollars in having to challenge,

administratively, ostensible awards to Defendants concerning contracts they were not

qualified to receive and/or solicitations on which they were ineligible to bid; and the

Government and U.S. Taxpayers by virtue ofthe fact that the Government awarded in excess

of $200 million to Defendants on contracts they were not eligible to receive. A non­


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exhaustive list of the contracts improperly and unlawfully obtained by TRG, PentaCon, C3

and Red Cedar are attached hereto as Exhibit 1.

       52.      Defendants are liable for treble damages, costs of suit, and a reasonable

attorney's fee for their Rl CO violations, in addition to all other damages, costs, expenses, and

fees, suffered by the Government and Southwind.

                          COUNT III - CONSPIRACY UNDER
                         THE ACT, RICO AND COMMON LAW

       53.      Southwind incorporates and re-alleges all of the foregoing, numbered

paragraphs.

       54.      Defendants engaged in a pattern and practice, or meeting of the minds, to

achieve an overall objective of executing a scheme to defraud the Government and U.S.

Taxpayers by falsely certifying Red Cedar, C3, and PentaCon, as legitimate, small or

disadvantaged business concerns, all for the purpose of submitting bids and obtaining

contracts that would actually be performed by TRG, and under which TRG would receive

funds it was otherwise unqualified to receive.

       55.      Defendants have, in fact, knowingly presented, or caused to be presented, false

or fraudulent claims for payment or approval; and, they have knowingly made, used, or

caused to be made or used, false certifications, representations, records or statements in order

to submit false or fraudulent claims for payment to the Government. The Defendants have

obtained from the Government in excess of $200 million as a result of their conspiracy, as




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described more particularly herein. A non-exhaustive list of the contracts improperly and

unlawfully obtained by TRG, PentaCon, C3 and Red Cedar are attached hereto as Exhibit 1.

       56.      As a direct and proximate result ofDefendants' common law conspiracy, and

conspiracy to violate the Act and RICO, the Government, U.S. Taxpayers and Southwind

have suffered injury for which Defendants are liable in an amount in excess of$200 million.

                                 REQUEST FOR RELIEF

       WHEREFORE, the United States ex reI plaintiff/relator, Southwind Construction

Services, LLC, prays for judgment against defendants, The Ross Group Construction

Corporation, The Ross Group, LLC, Red Cedar Enterprises, Inc., PentaCon, LLC, C3, LLC,

and John Does 1-5, jointly and severally, as follows:

                A.     Actual damages in an amount sufficient to cover the
                reasonable costs and expenses incurred by Southwind in having
                to bring to the attention of the Government the wrongful
                conduct of Defendants;

                B.      Actual damages amounting to disgorgement ofall monies
                improperly received by Defendants as more particularly set forth
                herein;

                C.     Damages in amount of three times the actual damages
                suffered by the Government and/or Southwind under the False
                Claims Act and RICO;

                D.     Civil penalties under the False Claims Act and RICO;

                E.      A fair and reasonable amount of any award made to
                Southwind for its contributions to the Government's
                investigation and recoverypursuantto 31 U.S.C. §§ 3730(b) and
                (d) of the False Claims Act;


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   F.    Southwind's attorneys' fees and costs;

   G.    Pre- and post-judgment interest; and,

   H.    All other relief on behalf of the Government and/or
   Southwind to which they may be entitled at law or in equity.


                             Respectfully Submitted,




                             R~t-
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                             Sarah Brockhaus, OBA #31493
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                             E-Mail: sbrockhaus@hmglawyers.com

                             Attorneys for Plaintiff/Relator, United States ex
                             reI Southwind Construction Services, LLC




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                             CERTIFICATE OF SERVICE

       I, Marvin Laws, certifY that a true and correct copy of the foregoing was served upon

the following, prior to filing, on the 29th day of January, 2015, by hand-delivery:

       Mr. Sanford C. Coats
       U.S. Attorney for the Western District of Oklahoma
       U.S. Attorney's Office
       210 West Park Avenue, Suite 400
       Oklahoma City, Oklahoma 73102

       I further certifY that a copy of the foregoing was sent via certified mail, U.S. Postal

Service, to the following:

       Honorable Eric Holder
       Attorney General of the United States
       U.S. Department of Justice
       950 Pennsylvania Avenue NW
       Washington, D.C. 20530-0001




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